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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

PAUL D. DORSEY                                            *
                                                          *
                  Petitioner                              *
                                                          *              Civil No.          PJM 12-2998
v.                                                        *              Crim. No.          PJM 09-0468
                                                          *
UNITED STATES OF AMERICA                                  *
                                                          *
                  Respondent                              *

                                        MEMORANDUM OPINION

         Paul Dorsey, pro se, has filed a Motion to Vacate Sentence pursuant to 28 U.S.C. § 2255

[Paper No. 441] and a Motion for Appointment of Counsel [Paper No. 487]. Having considered

the Motions and the Government’s Opposition to same, the Court will DENY them.1

                                                          I.

         On June 21, 2010, Dorsey pled guilty to one count of Conspiracy to Distribute and

Possess with Intent to Distribute Fifty (50) Grams or More of Cocaine Base (“Count One”) and a

second count of Felon in Possession of a Firearm and Ammunition (“Count Eleven”). At

sentencing, the Court found him to have a Total Offense Level of 25 and a Criminal History

Category of VI. He was thereupon sentenced to 137 months imprisonment as to Count One, and

a concurrent term of 120 months imprisonment as to Count Eleven.



1
 Dorsey requests appointment of counsel in connection with his Motion to Vacate.
          There is no Sixth Amendment right to counsel to pursue a petition for collateral relief. See Pennsylvania v.
Finely, 481 U.S. 551, 555 (1987). A district court, however, may provide counsel for an indigent inmate pursuing a
petition for habeas corpus when “the court determines that the interests of justice so require.” 18 U.S.C. §
3006A(a)(2)(B). The court’s decision concerning the appointment of counsel will only be considered an abuse of
discretion where the petitioner presents “exceptional circumstances.” Garrett v. Elko, 120 F.3d 261 (4th Cir. 1997).
          In the present case, the Court finds that Dorsey is able to articulate his claims and that the claims are not
unduly complex. Since the Court finds no “exceptional circumstances” either as to the facts or legal issues in this
case, Whisenant v. Yuam, 739 F.2d 160, 163 (4th Cir. 1984) (quoting Cooks v. Bounds, 518 F.2d 779 (4th Cir.
1975), Dorsey’s request that counsel be appointed is DENIED.



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       On September 19, 2011, Dorsey appealed the Court’s sentence. On July 5, 2012, the

Fourth Circuit dismissed his appeal, with an effective mandate date of July 27, 2012.

       On September 21, 2012, pursuant to a Petition for a Writ of Coram Nobis, the District

Court for Calvert County struck one of Dorsey’s prior convictions, a January 1, 2011 conviction

for Resist/Interfere with Arrest.

       On October 9, 2012, Dorsey filed the present Motion to Vacate.

                                                II.

       In his Motion, Dorsey argues (1) that the Court applied an incorrect (more onerous)

mandatory minimum term of imprisonment instead of the mandatory minimum established by

the Fair Sentencing Act of 2010 (“FSA”), and (2) that the Court should recalculate his Criminal

History Category because of the subsequently vacated state court conviction.

       Specifically, Dorsey says that his “137 month term should be reduced where the district

court’s starting place in calculating [his] term of imprisonment was a starting place of a

mandatory minimum term of ten (10) years”, instead of the five year mandatory minimum in

effect as of the time of his sentence. Dorsey then argues that, because one of the state court

convictions that was factored into his Criminal History score was vacated subsequent to his

sentencing, his Criminal History Category should be recalculated to reflect Category V rather

than Category VI status. In consequence, he says, his guideline range of imprisonment should be

reduced to 100-125 months from 110-137 months.

       In response, the Government argues that (1) the Court should decline to address the

merits of the § 2255 Motion because it is an improper vehicle for relief, (2) the Court properly

sentenced Dorsey under the amended Guidelines and in fact applied the five year mandatory

minimum sentence, and (3) the Court made clear at sentencing that the possible vacatur of




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Dorsey’s state court conviction would change neither his Criminal History Category nor, in any

event, the Court’s sentence.

                                                         III.

                                                          A.

         At sentencing Dorsey was found to have an Offense Level of 25. Sentencing Tr. 45:1.

As to Count One, Dorsey had agreed in his Plea Agreement that his Base Offense Level was 30,

“because at least 50 grams but less than 150 grams of cocaine base (crack)” was involved in the

offense. Plea Agrmt at ¶6.a. To be sure, however, this Base Offense Level was revised

downward in the Final Presentence Report, as of February 2, 2011, because of subsequent

revisions in the Sentencing Guidelines for crack offenses. The new result was a Base Offense

Level of 26. Final PSR at ¶24. The parties further agreed that a two-level increase in the offense

level was appropriate “because a firearm was possessed”. Plea Agrmt at ¶6.c. After a two-level

reduction for acceptance of responsibility, and an additional one-level reduction for timely

notification of his intention to plead guilty, Dorsey’s Total Offense Level was determined to be

25. Final PSR at ¶¶30-31; Plea Agrmt at ¶6.f.; Sentencing Tr. 44:25 – 45:1.2

                                                          B.

         Although Dorsey’s Motion regarding the applicable mandatory minimum has been made

as part of a Motion to Vacate under § 2255, his claim for relief based on the Fair Sentencing Act

(“FSA”) is better understood as a motion seeking reduction of his sentence under 18 U.S.C. §

3582. See Rios v. United States, Civil No. PJM-11-2238, Crim. No. PJM 10-0017, 2012 WL

3775832, at *2 (D. Md. Aug. 29, 2012) (Messitte, J.). As the Office of General Counsel of the


2
  In the Plea Agreement Dorsey had also reserved the right to argue that a two-level downward adjustment should
apply because he was purportedly a “minor participant” in the offense. The Court rejected that argument at
sentencing, finding that “[t]here’s no credit for minor role in this offense. At a minimum, the defendant was like all
the other confederates, if not more.” Sentencing Tr. 45:1-4.


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United States Sentencing Commission has suggested, “[t]he proper vehicle for seeking a

sentence reduction pursuant to an amendment to the guidelines given retroactive application by

the Commission is a motion to reduce sentence pursuant to 18 U.S.C. § 3582.” UNITED STATES

SENTENCING COMMISSION, CRACK RETROACTIVITY: PROCEDURAL ISSUES 15 (2012), available at

http://www.ussc.gov/Legal/Primers/Primer_Crack_Retroactivity.pdf (citations omitted); see also

United States v. Chandler, 534 F.3d 45, 51 (1st Cir. 2008) (“The remedy for defendants who

believe they are entitled to such resentencing [under the retroactive revisions to the guidelines for

crack cocaine offenses] is to file a motion with the district court seeking relief under 18 U.S.C. §

3582(c)(2).”). Because Dorsey’s Motion was filed pro se, and because labels assigned to

pleadings filed by pro se litigants are not determinative of a claim’s true nature, see Gordon v.

Leeke, 574 F.2d 1147, 1151 (4th Cir. 1978), the Court construes Dorsey’s arguments with

respect to the FSA as a Motion to Reduce Sentence pursuant to 18 U.S.C. § 3582(c)(2), rather

than one pursuant to §2255.

                                                 C.

       Although the Final PSR incorrectly states that the minimum term of imprisonment on

Count One was ten years, Final PSR at ¶84, Defense counsel, the Government, and the Court all

agreed at sentencing that in fact a five year sentence, as established by the Fair Sentencing Act,

was the applicable mandatory term of imprisonment on Count One. Sentencing Tr. 17:24-18:11.

But with the Guideline ranges in dispute here – either the one applicable to an Offense Level of

25 and a Criminal History Category VI, with a range of 110-137 months, or an Offense Level of

25 and a Criminal History Category V, with a range of 100-125 months — the mandatory

minimum in this case – five years or 60 months – essentially had no impact on the Court’s final

sentence. The Court was prepared to sentence well above the new mandatory minimum.




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                                                IV.

       Dorsey’s other argument, regarding the calculation of his Criminal History Category, is

properly addressed pursuant to the terms of 28 U.S.C. §2255, rather than those of the Fair

Sentencing Act and 18 U.S.C. §3582.

                                                 A.

       Guideline §4A1.1 assigns different numbers of points for different types of convictions,

as detailed in subsections §4A1.1(a) – (e). The Final PSR summarized Dorsey’s Criminal

History and calculated the guideline points attributable to each of his prior adult convictions, per

the Guideline. Thus, his total Criminal History points as calculated in the Final PSR was

thirteen, determined as follows: two points were awarded for the conviction at Paragraph 39;

those points are not in dispute. Three points were awarded for the conviction described at

Paragraph 40; those are also not in dispute. Two points were added at Paragraph 61 because his

current offenses were committed while he was on probation per §4A1.1(d); those, too, are also

undisputed.

       Come now the disputed calculations. Four points were derived from six possible points

relative to prior convictions set forth in Paragraphs 43, 45, 46, 49, 51, and 52. However, since

Sentencing Guideline §4A1.1(c) only permits a maximum of four points to be counted under that

subsection, any four of the six points would have served.

       At sentencing, Dorsey challenged one of those possible six points under U.S.S.G.

§4A1.1(c) on the grounds that he was unrepresented at the proceeding in which he was found

guilty. See Final PSR at ¶52. And the Court allowed that that particular challenge might be

valid. However, the Court noted that there remained at least two other §4A1.1(c) convictions

that could take the place of the challenged conviction. Sentencing Tr. 6:11-18, 45:8-13.




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        Accordingly, the fact that the conviction under Paragraph 52 was not counted would have

had no effect on the Criminal History score. It was not then and it is not now of any

consequence.

        At sentencing Dorsey also challenged the conviction at Paragraph 57, for which two

points had been counted pursuant to U.S.S.G. §4A1.1(b).3 The Court disagreed, finding that

Dorsey had not had not met his burden to prove that the conviction at ¶57 was unlawful. Id. at

45:8-13. Hence, the final Criminal History Category found by the Court was VI.

        However, it was the conviction at Paragraph 57, carrying two points, that was eventually

vacated by the District Court for Calvert County. Because discounting that conviction would

reduce the Criminal History points to eleven, the resulting Criminal History Category would be a

V, not a VI, as the Court found.

                                                       B.

        That fact alone, however, does not entitle Dorsey to a modification of his sentence.

Beyond the pure numerical argument, it is his burden to show that his sentence was unlawful on

one of the grounds of 28 U.S.C. § 2255. In that respect, §2255 provides that habeas relief should

be awarded where:

        the court finds that the judgment was rendered without jurisdiction, or that the
        sentence imposed was not authorized by law or otherwise open to collateral
        attack, or that there has been such a denial or infringement of the constitutional
        rights of the prisoner as to render the judgment vulnerable to collateral attack.

28 U.S.C. § 2255.

        If defendant “is successful in attacking [his] state sentences, he may then apply for

reopening of any federal sentence enhanced by the state sentences.” Custis v. United States, 511

3
  The Court notes that the Government seems to have misapprehended the application of U.S.S.G. §4A1.1. It argues
in its brief that the Paragraph 57 conviction only carried one point under §4A1.1(c), as opposed to two. In fact,
having carefully reviewed the matter, the Court notes that the actual point total was two, pursuant to §4A1.1(b),
rather than one.


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U.S. 485, 497 (1994). On the other hand, “if the prior conviction is no longer open to direct or

collateral attack in its own right, then the federal prisoner can do nothing more about his

sentence enhancement.” United States v. Pettiford, 612 F.3d 270, 276 (4th Cir. 2010) (citing

Daniels v. United States, 532 U.S. 374, 382 (2001)). “Vacatur alone does not entitle a petitioner

to habeas relief . . . the petitioner must still meet his burden of showing that his sentence is

unlawful on one of the specified grounds [of §2255], because only after determining that a

sentence is unlawful can the district court vacate and set aside the sentence.” Id. at 278.

       Dorsey has not established that any of the grounds for rendering his sentence unlawful

under 28 U.S.C. § 2255 have been met. He does not argue, nor is there any evidence to suggest,

that he was sentenced in violation of the Constitution, or that this Court lacked jurisdiction. “[A]

nonconstitutional error does not provide a basis for collateral attack unless it involves a

fundamental defect which inherently results in a complete miscarriage of justice, or is

inconsistent with the rudimentary demands of fair procedure” (internal quotation marks omitted).

United States v. Mikalajunas, 186 F.3d 490, 495-96 (4th Cir. 1999). The Fourth Circuit has held

“that [even] a misapplication of the guidelines typically does not constitute a miscarriage of

justice.” Id. at 496. In this case, assuming arguendo that Dorsey’s Criminal History Category

should have been V instead of VI, his claim does not rise to the level of “miscarriage of justice”

needed to constitute a §2255 claim.

                                                  C.

       Dorsey’s sentence of 137 months was at the top of a Criminal History Category VI for

someone with an Offense Level of 25, i.e. twelve months above the top of the Guidelines for a

Category V.




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       The statutory maximum for Count One was forty years’ imprisonment, 21 U.S.C.

§841(b)(1)(B)(iii), and ten years’ imprisonment for Count Eleven, 18 U.S.C. §924(a)(2). The

137 month sentence, just under twelve years, was therefore well under the statutory maximum.

And, as the Court stated at sentencing, whether a Category V or VI was applied, the 18 U.S.C.

§3553 factors clearly justified a 137 month sentence. Sentencing Tr. 31:14– 32:6; 45:8-13; 46:8-

25.

       As for the “nature and circumstances of the offense and the history and characteristics of

the defendant”, §3553(a)(1), the Court observed:

                And there are a lot of people — this is an interesting case where there are
       a lot of people in support of somebody whose life has been one of crime. And it's
       balanced to me in terms of what I hear by the fact that he's had a hard time in his
       life, but there's no question that in this particular case, the nature and
       circumstances of the offense, which is the first factor that I have to look at, this
       was an active drug conspiracy. I think the largest in Southern Maryland as far as
       the federal government is concerned, and the defendant was part of it for a period
       of time.

               This was preceded by a history of crime, whether it was drugs or alcohol,
       or resisting arrest or violence, and all these guns. To hear that somehow these
       guns were all there. An arsenal, mind you. I mean, read through what's found in
       his house. It's not like somebody's carrying a Beretta, has a Beretta. He's got a
       Glock 10-millimeter, semi-automatic handgun; a .357 Magnum revolver with
       certain rounds of ammunition. I mean, this is really a significant amount of drugs
       — of guns.

Id. at 44:14 - 45:16. And further:

               This was the largest drug conspiracy in Southern Maryland history as far
       as we can [know]. I've had all of your confederates, literally all of them before
       me already. I've seen the scope of what was involved. So, this is not the kind of
       thing where you sort of weigh it and say, well, I was just a little player here. I
       don't believe that. I just don't believe it, not on this record.

               And the fact that you had all the weapons that you've had, this is not a
       minor deal. To have you tell me, I never intended to use them, I don't believe that
       either. You would have used them if you had to. That's why you had them. I
       wasn't born yesterday. I want you to understand that, and I want your family to
       understand that.



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Id. at 47:13 – 47:25. See also id. at 48:24 – 49:21 (discussion of the history and characteristics of

the defendant).

       The Court proceeded to address other factors under § 3553(a)(2):

                And the idea that somehow you could get gentle treatment given the
       nature of this conspiracy, what am I saying to all the other people who want to
       conspire and deal drugs and deal in weapons in Southern Maryland or elsewhere?
       It's a terrible message for me to send. So, there's the issue of deterring others and
       promoting respect for law, which are primary factors that I have to take into
       account.

               And then there's you, there's you. I don't know how many times I've sat
       on this bench. It's been 26 years. Mr. Hall and I go back a long way, state court
       too, where I've [seen] someone who comes in on the eve, on the cusp of being
       sentenced and they've found God, and they've changed their ways after a lifetime
       of crime.

                Now, how am I to believe that? You don't even know yourself whether
       that's true. You don't know whether you'd slip back to your old ways or not. I
       mean, that's the problem. And what kind of credibility do I give? You say you're
       a changed man. I hope you are. I don't know.

                On this record right now, I'm not prepared to say that you are. I hope you
       are. You've got a long time to think about it. Right now it's important to get you
       out of circulation. That's what I look at first. I need to protect the community
       first. Then we'll look at you individually.

Id. at 48:1 - 48:23. Finally, the Court noted the need to sentence Dorsey with “some sort of

parity with your confederates”, id. at 49:22, pursuant to §3553(a)(6). The Court found that

Dorsey was “right in there with everybody and in some ways with a little more extensive

criminal history.” Id. at 49:24-25.

       In sum, the Court’s sentence of 137 months was neither “a complete miscarriage of

justice, or . . . inconsistent with the rudimentary demands of fair procedure”. United States v.

Mikalajunas, 186 F.3d 490, 495-96 (4th Cir. 1999).

       The Court remains satisfied that its sentence was appropriate and that Dorsey’s Motion

provides no basis for the Court to revisit its decision.



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                                                 V.

       Rule 11(a) of the Rules Governing § 2255 Proceedings provides that the district court

“must issue or deny a [C]ertificate of [A]ppealability when it enters a final order adverse to the

applicant.” A Certificate of Appealability will not issue absent a “substantial showing of the

denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). A prisoner satisfies this standard by

demonstrating that reasonable jurists would find that any assessment of the constitutional claims

by the district court is debatable or wrong, and that any dispositive procedural ruling by the

district court is likewise debatable. See Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003);

Slack v. McDaniel, 529 U.S. 473, 484 (2000); Rose v. Lee, 252 F.3d 676, 683-84 (4th Cir. 2001).

The Court has considered the record in this case and finds that Dorsey has not made the requisite

showing. Accordingly, the Court denies a Certificate of Appealability.

                                                VI.

       For the reasons set forth in Footnote One, Dorsey’s Motion to Vacate, treated in part as a

Motion to Reduce Sentence, and his Motion for Appointment of Counsel are DENIED.

       A separate order will ISSUE.



                                                        /s/________________
                                                 PETER J. MESSITTE
                                           UNITED STATES DISTRICT JUDGE
February 11, 2014




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